       Case 1:22-cv-03434-TJK      Document 40-9            Filed 02/28/24    Page 1 of 15




                         9 FAM APPENDIX G, 100
                        CONSULAR DUTIES (SBU)
                             (CT:VISA-1680; 09-07-2011)
                              (Office of Origin: CA/VO/L/R)


9 FAM APPENDIX G, 101 CONSULAR
                       IES (SBU)
(CT:VISA-1680;           09-07-2011)
(SBU) The adjudicating officer (the officer who approves the visa for
issuance in the system) is responsible for conducting as complete a
clearance as is necessary to establish the eligibility of an applicant to receive
a visa. This responsibility includes:
    (1)      (SBU) Checking the Consular Lookout and Support System (CLASS)
             and other appropriate post records, including the NIV system case
             notes, in all cases;
    (2)      (SBU) Completing clearance procedures with other posts (see 9
             FAM Appendix G, 300);
    (3)      (SBU) Requesting security advisory opinions (SAOs see 9 FAM
             Appendix G, 500) and/or advisory opinions (AOs) from the
             Department when required;
    (4)      (SBU) Reviewing returns from Automated Biometric Identification
             (IDENT) and Integrated Automated Fingerprint Identification
             System (IAFIS) fingerprint clearances (see 9 FAM Appendix L);
    (5)      (SBU) Reviewing returns from Facial Recognition (FR) checks; and
    (6)      (SBU) Reviewing NIV system case notes and any other post files for
             information that would render an applicant ineligible for a visa.


9 FAM Appendix G, 101.1 Visa Lookout
Accountability (VLA) (SBU)
(CT:VISA-1680;           09-07-2011)
a. (SBU) Visa lookout accountability (VLA) is an on-going requirement with
   which you must comply. You must make a good-faith effort to properly
   resolve valid hits before visa issuance. Failure to make complete and



ROP #159 - 12/27/2021              G - Exhibit   9
                                       Reply to Response to MTC          2015-035 Beberman - Page 4294
       Case 1:22-cv-03434-TJK     Document 40-9            Filed 02/28/24    Page 2 of 15




    accurate notes or to follow FAM guidance indicates a failure to make a
    good-faith effort.
b. (SBU) Section 140(c) of Public Law 103-236 (Foreign Relations
   Authorization Act, FY-94 and 95, as amended) which became effective
   April 30, 1996, states the following about visa processing:
    (1)      (SBU) Whenever a U.S. consular officer issues a visa for admission
             to the United States, that official shall certify, in writing, that a
             check of the automated visa lookout system, or any other system
             or list which maintains information about the excludability of aliens
             under the Immigration and Nationality Act, has been made, and
             that there is no basis under such system for the exclusion of such
             alien;
    (2)      (SBU) If, at the time an alien applies for an immigrant or


             application is made fails to follow the procedures in processing the


             record and shall be considered as a serious negative factor in the
             offi
    (3)      (SBU) If an alien, to whom a visa was issued as a result of a failure
             described in (b)(2), is admitted to the United States, and there is,
             thereafter, probable cause to believe that the alien was a
             participant in a terrorist act causing serious injury, loss of life, or
             significant destruction of property in the United States, the
             Secretary of State shall convene an accountability review board
             under the authority of Title III of the Omnibus Diplomatic Security
             and Antiterrorism Act of 1986.

9 FAM Appendix G, 101.1-1 Meeting the Visa Lookout
Accountability (VLA) Requirement (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) Under Section 140(c), whenever you issue a visa, you must certify
   that a lookout check has been made and there is no basis for exclusion.
   This means that you must properly resolve all hits in the CLASS, IDENT,
   IAFIS, FR systems, and case notes according to current guidance and
   document your actions in the nonimmigrant visa (NIV) or immigrant visa
   (IVO) system before you issue a visa. The requirement to certify in
   writing that the check has been made is fulfilled by taking action within
   the system to overcome these hits, entering appropriate case notes, and



ROP #159 - 12/27/2021             G - Reply to Response to MTC          2015-035 Beberman - Page 4295
       Case 1:22-cv-03434-TJK   Document 40-9            Filed 02/28/24    Page 3 of 15




    authorizing printing.
b. (SBU) Establishing th
   must explain your reasons for issuing over a hit in the system either by
   demonstrating that the person named in the hit is not the same person as
   the applicant, or that the basis for the hit is not grounds for an
   ineligibility. In some cases, you may note that the biographical data on
   the applicant is different. In others, you may have to explain why you
   were able to eliminate a hit. Examples would include resolving an NCIII
   hit for an applicant whose RAP sheet does not indicate an ineligibility; a
   decision made based on your knowledge of local naming conventions; or
   any other information you gained during the interview. You should be
   clear in your case notes, especially in instances where there is a close
   match.
c. (SBU) There is no bright line rule for when a hit is a match, when it may
   be overcome, or when an issuance over a hit is a VLA violation. When
   reviewing namecheck results, adjudicating officers should take into
   account a) the local naming conventions and b) the fact that records may
   have been entered by users who had incomplete or inaccurate
   information or were unfamiliar with foreign naming conventions. Given
   names, surnames, patronymics, matronymics, and other naming
   elements may not be listed in the correct sequence or records may
   contain partial names. Therefore, close hits should be carefully
   considered before being eliminated. Unless there are obvious differences
   in the names and other biographic data elements, and post is aware from
   local naming conventions that the hit cannot be a match, records should
   be considered a match. If you eliminate a hit based on your
   understanding of the local naming conventions, be sure to add a case
   note explaining your reasoning.
d. (SBU) For instance, if your applicant is John Charles Smith, DPOB

    with no DPOB, you cannot exclude your applicant as a match for that hit
    and must resolve it before issuing the visa. Similarly, if your applicant is
    Muhammad Akbar Ali, DPOB 7/1/1981, Pakistan, and the CLASS hit is a

    sufficient information to exclude your applicant as the plausible subject of
    the hit. You cannot resolve certain
    at post regardless of how well and favorably known the person might be.
    The guidance in 9 FAM Appendix G, 503.2 requires you to submit SAOs
    f
                     r (see 9 FAM Appendix G, 500).
e. (SBU) The Visa Office continues to work with the interagency community
   to remove lookouts with minimal identifying biographic information. If



ROP #159 - 12/27/2021           G - Reply to Response to MTC          2015-035 Beberman - Page 4296
       Case 1:22-cv-03434-TJK    Document 40-9            Filed 02/28/24    Page 4 of 15




    you identify CLASS hits with common names and no additional biographic
    information, please submit them to the Office of Information Management
    and Liaison (CA/VO/I) (Classfeedback@state.gov) for review.

9 FAM Appendix G, 101.1-2 Issuing Officer (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) Section 140(c) speaks in terms of the consul
visa. For the purposes of VLA, in both NIV and IVO, the officer who checks

officer. In some instances, the officer who examines the application and
makes the preliminary decision to issue or deny a visa may not be the same
person as the issuing officer. Although VO strongly prefers that the
interviewing officer review IDENT or FR results related to the same case, it is
often unavoidable that a different officer must perform these functions. The
officer or officers who permit the case to proceed to printing is/are the
responsible officer(s) for that part of the case for VLA purposes and must
review all categories of hits, in CLASS, IDENT, IAFIS, or FR even if the
interviewing officer has already reviewed some categories of hits. While
duplicative, this process will ensure that the adjudicating officer has the
complete picture before making a decision. This will likely mean that some
cases will have more than one officer who makes a VLA certification to
authorize issuance. The NIV and IVO systems will register each adjudication
for VLA purposes, and record them in the CCD.

9 FAM Appendix G, 101.1-3 Who May Authorize Printing of
Visas (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) Only consular officers or other employees specifically authorized by
the Assistant Secretary for Consular Affairs are permitted to make a visa
lookout accountability (VLA) certification and authorize printing of visas. The
Department ceased visa adjudication by consular associates in September
2005. Foreign Service officers who do not hold consular titles to adjudicate
visas at post are not authorized to either adjudicate or print-authorize visas.

9 FAM Appendix G, 101.1-4 Visa Lookout Accountability
(VLA) Procedures (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) The Department interprets Section 140(c) to mandate, before a




ROP #159 - 12/27/2021            G - Reply to Response to MTC          2015-035 Beberman - Page 4297
       Case 1:22-cv-03434-TJK   Document 40-9            Filed 02/28/24    Page 5 of 15




    (CLASS), as well as checks of returns in IDENT, IAFIS, FR, and the NIV
    system case notes, to verify that there is no basis under any system for a
    visa ineligibility. You must document in the NIV or IVO system how you
    resolved the results of these checks; that serves as the VLA certification
    for a case. The act of authorizing the visa for printing signifies your
    determination that you found no relevant hits. The CCD retains this
    record, along with your name, in the Machine Readable Visa (MRV) case
    history file and constitutes the written certification for VLA purposes. All
    issuing officers will be considered to have made the Section 140(c)
    certification (VLA Certification) when they authorize IV or NIV printing.
    VLA does not apply to visa refusals.
b. (SBU) For hits in the CLASS system, you must check and resolve all
                                 ineligibilities before you make a certification
   and may issue a visa. Thus, CA/CST has programmed the nonimmigrant
   visa (NIV) and immigrant visa (IVO) systems to ensure that no visa can
   be printed until you have checked the CAT I CLASS hits and have
   documented the reason you issue a visa (waiver, security advisory
   opinion (SAO) response, advisory opinion (AO) response, not same
   person, etc.). The CLASS database also includes lookouts provided by
   other agencies, to which officers must give the same consideration as
   Department-originated CAT I hits.
c. (SBU) While a CAT II hit may provide an officer with information that
   could lead to a finding of inadmissibility, CAT II hits reflect prior decisions
   or lookouts that may or may not be relevant or binding on the officer
   handling the new application. Thus, these hits, without further inquiry,
   do not provide a basis for refusal. Moreover, CAT II hits do not indicate
   the kind of security-related basis for refusal that was the focus of
   Congressional concern in enacting Section 140(c). Nonimmigrant visas
   (NIV) and immigrant visas (IVO) applications have been programmed to
   require that an officer check all CAT II hits before a visa may be printed,
   but the officer is not forced to overcome them by selecting a reason from
   the pull down menu as is required for CAT I hits. Issuing officers are


    issuance in the system for every CAT II hit. However, all CAT II hits
    should be reviewed and resolved before issuance. Thus, the issuing
    officer should not authorize any case for printing unless he or she can
    confirm that the lookout system was, in fact, checked, and that all CAT I
    and CAT II hits were handled appropriately.
d. (SBU) The fingerprint checks in IDENT and IAFIS, the facial recognition
   checks in FR, and the review of NIV systems case notes (and any other
   post databases) also constitute



ROP #159 - 12/27/2021           G - Reply to Response to MTC          2015-035 Beberman - Page 4298
       Case 1:22-cv-03434-TJK    Document 40-9            Filed 02/28/24    Page 6 of 15




    information about the excludability of aliens under the Immigration and

    Remember that IDENT, IAFIS, and FR hits are different from CLASS hits

    date of birth (DOB).                                      the case of
    an IDENT/IAFIS hit. The fact that the name or DOB associated with an

    not mean that the hit does not in fact apply to the applicant.
e. (SBU) You must

                                                                                      sa
                                 The selection of one of these choices
    constitutes a certification for VLA purposes.
f. (SBU) You must clear an IAFIS hit by evaluating the RAP sheet attached
   to the record to determine whether the applicant matches the hit, and
   whether the offenses on the rap sheet indicate a visa ineligibility. The
   decision you enter in the event of an IAFIS match constitutes certification
   for VLA purposes. (See 9 FAM Appendix L, 402 for additional details.)
g. (SBU) For FR returns, you must review each possible match and select

    The selection of one of these choices constitutes certification for VLA
    purposes.
h. (SBU) For NIV case notes and other information sources at post, you
   must review notes for any indication that post has information, not
   available in other consular systems, that would indicate the applicant is
   ineligible for a visa. Because CA designed automated consular systems to
   more quickly and accurately identify visa ineligibilities, CA/VO strongly
   recommends that posts either transfer locally held information to CA/VO/I
   for entry
   advising consular officers that post files contain potentially adverse visa
   information.

9 FAM Appendix G, 101.1-5 Compliance with Visa Lookout
Accountability (VLA) Requirement Implemented (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) A VLA module created for NIV and IVO software compels compliance
with the VLA requirement. The revised software requires you to view any
CAT I hits before being allowed to authorize the visa for printing. You must
respond to an on-screen prompt with a reason for overcoming the CAT I hit.
Your reason for overcoming a CAT 1 hit should accurately reflect the facts of



ROP #159 - 12/27/2021            G - Reply to Response to MTC          2015-035 Beberman - Page 4299
       Case 1:22-cv-03434-TJK     Document 40-9           Filed 02/28/24    Page 7 of 15




                                         NAME AND/OR DOB OF APPLICANT
              when the name and date of birth in fact matched those of the
applicant, it would suggest that you had not made a good-faith effort to
resolve the hit before issuing the visa.

9 FAM Appendix G, 101.1-6 Procedures to Document
Compliance (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) Current versions of the IVO and NIV systems contain the full VLA
   module for documenting compliance for review of CLASS hits. Before you
   can authorize a visa for printing, the VLA module compels you to:
    (1)      (SBU) View each screen showing any CAT I, IDENT, IAFIS, or FR
             hits;
    (2)      (SBU) Choose one or more comments from a list of standardized
             comments to explain why the visa is being issued despite the hit(s),
             and add any additional case notes;
    (3)      (SBU) Review the NIV system for any derogatory information; and
    (4)      (SBU) The system then stores a record of the hits, the name of the
                                                                        The entire
             record is archived by post and will be retained for a minimum of 11
             years. Posts do not need to retain NIV application forms beyond
             the retention requirements solely for VLA purposes.
b. (SBU) You should note that the current versions of NIV and IVO do not
   compel you to review case notes before print-authorizing a visa. You
   must do that in addition to the system prompts to review the other
   namecheck systems.

9 FAM Appendix G, 101.1-7 Non-Electronic Visa Lookout
Accountability (VLA) Certifications (SBU)
(CT:VISA-1644;          05-04-2011)
(SBU) During the transition to the current electronic documentation of VLA
compliance, some posts were required to maintain the written VLA
certification on a printout of the hits for each case attached to the Form DS-
156, Nonimmigrant Visa Application, in older cases. These records were
maintained for eleven years. It is not necessary to produce and maintain
paper VLA records for any cases adjudicated under the current NIV and IVO
systems that maintain the records electronically.




ROP #159 - 12/27/2021            G - Reply to Response to MTC          2015-035 Beberman - Page 4300
       Case 1:22-cv-03434-TJK    Document 40-9            Filed 02/28/24    Page 8 of 15




9 FAM Appendix G, 101.2 Visa Annotations -
Nonimmigrant Visas (NIV) and Immigrant Visas
(IV) (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) You must annotate waivers granted by Department of Homeland
Security (DHS) on the visa. If you submit an advisory opinion (AO) or
security advisory opinion (SAO) and the Department determines that the
applicant is either not                                           you to issue a
visa under an applicable law or regulation, you must annotate the visa,
                                        you received it. Please remember
that Customs and Border Protection (CBP) inspectors have access to case
information through the Consular Consolidated Database (CCD), so
additional information in the case notes will assist officers at the port of
entry (POE). (See 9 FAM 41.113 PN10.2 for more information on
annotations.)


9 FAM Appendix G, 101.3 Supervisory Duties (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) Supervisors are responsible for ensuring that all consular officers
   fully understand the VLA provisions and requirements, as well as the
   consequences for failure to comply with VLA procedures. You should
   provide VLA training to all officers at post as well as to all new line
   officers before they assume issuing responsibilities. VLA responsibilities
   and how to evaluate hits should be an ongoing topic of discussion at staff
   meetings.
b. SBU) The annual certification of consular management controls must
   include a certification that the consular section chief has reviewed VLA
   procedures with all employees annually.
c. (SBU) To ensure compliance with Section 140(c)(1)(B), you, as
   supervisor, are responsible for reviewing issued visas to confirm that
   issuing officers have complied with VLA requirements; i.e., that they are
   checking the lookout system, issuing visas only in compliance with
   procedures for handling CAT I hits. The CCD
                      is included in the standard adjudication review report in
   the CCD, and can be run separately by consular managers (see 9 FAM
   41.113 PN17.2). Prompt and regular review of this report can deter
   improper issuance of visas. In the event that you detect a VLA violation,
   you should take immediate steps to prevent the visa from leaving the
   consular section and cancel it. Such an event should be grounds for



ROP #159 - 12/27/2021            G - Reply to Response to MTC          2015-035 Beberman - Page 4301
       Case 1:22-cv-03434-TJK    Document 40-9            Filed 02/28/24    Page 9 of 15




    counseling the issuing officer and providing closer supervision. In the
    event that you have already sent the visa-ed passport back to the
    applicant, you must take immediate steps to revoke the visa, and you
    must report the apparent VLA violation to Post Operations Division
    (CA/VO/F/P) for its review.
e. (SBU) If you learn of a VLA violation in your section, in addition to

    management controls, workflow, workload, in-house training, and any
    other factors that may have contributed to the lapse. While the
    responsibility for the violation rests solely on the adjudicating officer,
    supervisors have an obligation to provide an environment that is
    supportive of careful and correct decision-making. The Office of the
    Executive Director (CA/EX), the Office of Fraud Prevention Programs
    (CA/FPP), and the Office of Visa Services (CA/VO) can assist in evaluating
    your workflow and management controls.


9 FAM Appendix G, 101.4 Guidance on Visa
Lookout Accountability (VLA) Violations (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) In general, a VLA violation occurs when there is a clear match to
   the applicant in the case notes, CLASS, IDENT, IAFIS, or FR result and
   the officer does not resolve the hit before issuance. It can also occur
   when there is insufficient information in the hit to allow the officer to
   eliminate the applicant as the plausible subject of the hit. A VLA violation
   occurs when a consular officer incorrectly excludes a hit as a potential
   ineligibility, and issues the visa without resolving the hit. The Visa Office
   has the responsibility for determining whether there has been a VLA
   violation.
b. (SBU) Case notes are crucial for documenting VLA compliance, especially
   in the instances of close matches. Without an explanation for why a close
   match was overcome, the Visa Office may consider such an issuance a
   VLA violation.


9 FAM Appendix G, 101.5 Procedures for
Documenting Visa Lookout Accountability (VLA)
Violations (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) The Visa Office may be alerted to a VLA violation in any number of
   ways.



ROP #159 - 12/27/2021            G - Reply to Response to MTC          2015-035 Beberman - Page 4302
      Case 1:22-cv-03434-TJK   Document 40-9           Filed 02/28/24   Page 10 of 15




    regular reviews of issuances. The Consular Integrity Division in the Office
    of Fraud Prevention Programs (CA/FPP/CID) may flag a possible VLA
    violation while conducting periodic data analysis or the Office of
    Legislation, Regulations, and Advisory Assistance (CA/VO/L) may find a
    potential violation in the course of an AO or SAO request. CBP inspectors
    at POEs have also notified the Bureau of Consular Affairs (CA) of visas
    that were issued improperly over CAT I hits.
b. (SBU) However the potential case becomes known, it must be presented
   to the Post Operations Division (CA/VO/F/P), whose chief coordinates the
   VLA violation process. CA/VO/F/P will first contact the officer to obtain
   any additional clarification about the case or the adjudication. If
   CA/VO/F/P still believes a VLA violation has occurred, it will ask
   CA/FPP/CID to review the adjudication history of the officer in question to
   ascertain if the VLA violation is a single occurrence, or if it is part of a
   pattern of potential VLA violations or lapses in judgment, and report
   those findings to CA/VO/F/P. CA/VO/F/P will then submit the case to the
   Visa Office (VO) VLA Panel.
c. (SBU) The VO VLA Panel consists of representatives from the Office of
   Field Support (CA/VO/F) and Office of Legislation, Regulation and
   Advisory Assistance (CA/VO/L). The Panel will review the potential
   violation and decide whether the officer issued a visa without eliminating
   a hit per current procedures.
d. (SBU) If the panel determines that a VLA violation occurred, CA/VO/F/P
   will forward the VLA record of violation form by e-mail to post if the
   adjudicating officer is still there.
   and sign the form within five working days of receipt of the form and then
   provide the form to the consular officer who committed the violation. The
   consular officer must complete and sign the form within ten working days
   of receipt, and return it to CA/VO/F/P. If the adjudicating officer is no
   longer at post, CA/VO/F/P will contact him or her at the current post and
   only he or she will sign the form. A note will be made on the form to
   indicate that the officer is no longer at the post where the violation
   occurred in the space where the signature of the supervisor would
   normally be placed.
e. (SBU) CA/VO/F/P will then forward a copy of the form under a memo
   from the CA/VO Managing Director to Office of Employee Relations
   (HR/ER), for disciplinary action. If there are subsequent violations, HR
   will consider more severe disciplinary action.
f. (SBU) In the case of an officer who authorizes a visa to an alien who later
   participates in a terrorist act, CA/VO will coordinate the convening of an
   Accountability Review Board under the authority of Title III of the



ROP #159 - 12/27/2021          G - Reply to Response to MTC         2015-035 Beberman - Page 4303
      Case 1:22-cv-03434-TJK     Document 40-9           Filed 02/28/24   Page 11 of 15




    Omnibus Diplomatic Security and Antiterrorism Act of 1986.


9 FAM Appendix G, 101.6 Appealing a VLA Violation
(SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) An officer who does not believe his/her decision was a VLA violation
should provide an explanation and/or additional evidence to CA/VO/F/P. The
VO Managing Director will consider the appeal and decide whether to retract
the VLA violation. Final determination of a VLA violation remains with the
Visa Office.


9 FAM APPENDIX G, 102 DEFINITIONS (SBU)
(CT:VISA-1644;          05-04-2011)
(SBU) The following terms are used in connection with visa clearances:



    (through Washington agency name check and security advisory opinion
    requests) or at Foreign Service posts (through checks of post records
    and/or outside sources).



    and Vietnam.

    computerized name search system which is connected to the



    applicant photographs against the photos to be checked against the
    Watchlist and Photo Gallery databases.

    managed by the Federal Bureau of Investigation (FBI) Criminal Justice
    Information Services (CJIS) Division in Clarksburg, West Virginia. IAFIS
    contains more than 50 million criminal history record fingerprints
    contributed by Federal, State, local, and tribal law enforcement agencies.

    system for rapid biometric identification of subjects. The Unified IDENT
    database contains all other IDENT records, such as the Biometric Visa
    (BioVisa) and the U.S. Visitor and Immigrant Status Indicator Technology



ROP #159 - 12/27/2021            G - Reply to Response to MTC         2015-035 Beberman - Page 4304
      Case 1:22-cv-03434-TJK       Document 40-9           Filed 02/28/24   Page 12 of 15




    Program (US-VISIT) enrollments.
(SBU)
   Government agencies based on a CLASS hit that appears to match the
   applicant (e.g., similar name and date of birth or place of birth).
                                                              inspected
    by the Department of Homeland Security (DHS) to determine his or her
    eligibility for entry into the United States.

    (CLASS), other records of the consular section, and information from the
    political section, economic section, and any other U.S. Government
    agency at post that may be available to the consular officer.

    information are checked prior to visa issuance.

    purview of INA 212(a)(3)(D). A member or affiliate of a proscribed
    organization is ineligible for an immigrant visa unless he or she qualifies
    for relief.
                                       s place of general abode; i.e., his or her
    principal, actual dwelling place in fact, without regard to intent.

    the security aspects of any visa case submitted by a consular officer. The
    processing of security advisory opinions includes the completion of
    Washington agency namechecks.


    (1)      (SBU) Post records;
    (2)      (SBU) Local police and security authorities;
    (3)      (SBU) The records of other Foreign Service posts;
    (4)      (SBU) The investigative resources of the Department (name checks
             and SAOs);
    (5)      (SBU) Supervisory diplomatic and consular officers in the country of
             application;
    (6)      (SBU) Diplomatic and consular officers of other countries; and
    (7)      (SBU) Any other resources available to the consular officer.


9 FAM APPENDIX G, 103 OTHER AVAILABLE
GUIDANCE (SBU)

ROP #159 - 12/27/2021              G - Reply to Response to MTC         2015-035 Beberman - Page 4305
      Case 1:22-cv-03434-TJK     Document 40-9           Filed 02/28/24   Page 13 of 15




9 FAM Appendix G, 103.1 Related Sources of
Guidance (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) You should consider the clearance procedures discussed in this
Appendix in conjunction with the relevant portions of 9 FAM Appendix D, 200
and the examples of clearance telegrams found in 9 FAM Appendix E, 200
and 9 FAM Appendix L.


9 FAM Appendix G, 103.2 Country-

Intranet (SBU)
(CT:VISA-1680;          09-07-2011)
a. (SBU) The Visa Reciprocity and Country Documents Finder (found on
   CAWeb) contains specific information on the special clearance
   requirements for nationals of each country. These country-specific
   instructions supplement, and must be used with, the general clearance
   guidance found here. You must become familiar with any special
   clearance requirements affecting nationals of their host country, and must
   consult the appropriate country listing for third-country applicants as
   necessary prior to visa issuance.
b. (SBU) Note that all Special Clearance and Issuance Procedures in the
   Reciprocity Schedule (or the fact that there are no such procedures for a

    thus not posted on the Internet version of the FAM.


9 FAM APPENDIX G, 104 CONSULAR
LOOKOUT AND SUPPORT SYSTEM (CLASS)
ENTRIES BY CONSULAR POSTS (SBU)

9 FAM Appendix G, 104.1 Posts Usually
Responsible for Entering Ineligible Aliens (SBU)
(CT:VISA-1644;          05-04-2011)
(SBU) It is vital to the clearance process that all visa-issuing posts enter into
consular lookout and support system (CLASS) the names, dates and places
of birth, and refusal or lookout codes of aliens found, or believed to be,
ineligible for visas.


ROP #159 - 12/27/2021            G - Reply to Response to MTC         2015-035 Beberman - Page 4306
      Case 1:22-cv-03434-TJK     Document 40-9            Filed 02/28/24   Page 14 of 15




9 FAM APPENDIX G, 105 EVALUATION OF
INTELLIGENCE INFORMATION (SBU)

9 FAM Appendix G, 105.1 Assessment of
Information and Source (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) When you share information of a security nature, obtained from any
source, to another consular post or to the Department, you must provide the
receiving office with:
    (1)      (SBU) An evaluation of the credibility and applicability of the
             information; and
    (2)      (SBU) An evaluation of the reliability of the source.


9 FAM Appendix G, 105.2 Evaluation of
Organizational Membership (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) When you provide information to another post or to the Department

may be unknown to the recipient, indicate whether the organization falls
within the purview of INA 212(a)(3)(B). You should also advise the
                                organizational membership or affiliation,
although not proscribed, should invite special scrutiny (e.g., an organization
involved in terrorist activity). Finally, you should assess, if possible, whether
                                                      ion may render him or her
ineligible for a visa.


9 FAM APPENDIX G, 106 U.S. POLICE
CLEARANCES (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) With the inclusion of National Crime Information Center (NCIC) and
Interstate Identification Index (III) information in CLASS, as well as the use
of ten prints to run checks against IAFIS, you should consider a CLASS
namecheck and IDENT/IAFIS check a U.S. police clearance for visa
purposes.




ROP #159 - 12/27/2021             G - Reply to Response to MTC         2015-035 Beberman - Page 4307
      Case 1:22-cv-03434-TJK     Document 40-9           Filed 02/28/24   Page 15 of 15




9 FAM APPENDIX G, 107 CLEARING
IMMIGRANT VISA APPLICANTS (SBU)
(CT:VISA-1680;          09-07-2011)
(SBU) The National Visa Center (NVC), Kentucky Consular Center (KCC), or
consular posts abroad must initiate necessary clearances at the earliest
possible time for immigrant visa applicants who are either not subject to
numerical limitations or are subject to a numerical limitation for which visa
numbers are currently available. You should normally request clearances as
soon as you receive the Form DS-230, Application for Immigrant Visa and
Alien Registration, from an applicant.




ROP #159 - 12/27/2021            G - Reply to Response to MTC         2015-035 Beberman - Page 4308
